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       Attorneys for Defendants
 6     DATALOCKER INC. and DATA LOCKER
       INTERNATIONAL, LLC
 7
 8                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 9                           SOUTHERN DIVISION
10      SPEX TECHNOLOGIES, INC.,             Case No. 8:16-cv-01790-JVS-AGR
11                       Plaintiff,          DEFENDANTS DATALOCKER
                                             INC. AND DATA LOCKER
12           vs.                             INTERNATIONAL, LLC’S
                                             ANSWER
13      KINGSTON TECHNOLOGY
        CORPORATION, KINGSTON                JURY TRIAL DEMANDED
14      DIGITAL, INC., KINGSTON
        TECHNOLOGY COMPANY,                  Complaint Filed: 9/27/16
15      INC.,
        IMATION CORPORATION,
16      DATALOCKER INC., DATA
        LOCKER INTERNATIONAL, LLC,
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                         Defendants.
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 1           1.     For its Answer to the Complaint of SPEX Technologies, Inc. (“SPEX”
 2     or “Plaintiff”), Defendants DataLocker Inc. and Data Locker International, LLC
 3     (collectively “DataLocker”), by its undersigned attorneys, states:
 4                                          PARTIES
 5           2.     DataLocker is without knowledge or information sufficient to form a
 6     belief as to the truth of the allegations of Paragraph 2, and therefore denies them.
 7           3.     This paragraph is not directed to DataLocker and therefore no
 8     response is required. To the extent a response to this Paragraph is required,
 9     DataLocker is without knowledge or information sufficient to form a belief as to
10     the truth of the allegations of the Paragraph, and therefore denies them.
11           4.     This paragraph is not directed to DataLocker and therefore no
12     response is required. To the extent a response to this Paragraph is required,
13     DataLocker is without knowledge or information sufficient to form a belief as to
14     the truth of the allegations of the Paragraph, and therefore denies them.
15           5.     This paragraph is not directed to DataLocker and therefore no
16     response is required. To the extent a response to this Paragraph is required,
17     DataLocker is without knowledge or information sufficient to form a belief as to
18     the truth of the allegations of the Paragraph, and therefore denies them.
19           6.     This paragraph is not directed to DataLocker and therefore no
20     response is required. To the extent a response to this Paragraph is required,
21     DataLocker is without knowledge or information sufficient to form a belief as to
22     the truth of the allegations of the Paragraph, and therefore denies them.
23           7.     This paragraph is not directed to DataLocker and therefore no
24     response is required. To the extent a response to this Paragraph is required,
25     DataLocker is without knowledge or information sufficient to form a belief as to
26     the truth of the allegations of the Paragraph, and therefore denies them.
27           8.     DataLocker admits that DataLocker Inc. is a Kansas corporation with
28     its headquarters at 7007 College Blvd., Suite 240, Overland Park, Kansas 66211.
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 1           9.      DataLocker admits that Data Locker International, LLC is a Delaware
 2     corporation with its headquarters at 7007 College Blvd., Suite 240, Overland Park,
 3     Kansas 66211.
 4           10.     DataLocker admits that Paragraph 10 refers to DataLocker Inc. and
 5     Data Locker International, LLC together as “DataLocker.” To the extent a response
 6     to this Paragraph is required, DataLocker is without knowledge or information
 7     sufficient to form a belief as to the truth of the allegations of the Paragraph, and
 8     therefore denies them.
 9                                NATURE OF THE ACTION
10           11.     DataLocker admits that the Complaint purports to state a cause of
11     action under the patent laws of the United States, 35 U.S.C. § 1 et seq. for
12     infringement of U.S. Patent No. 6,088,802 and U.S. Patent No. 6,003,135, and that
13     copies of those patents are purportedly attached as Exhibits A and B, respectively,
14     to Plaintiff’s Complaint. All remaining allegations of Paragraph 11 are denied.
15           12.     To the extent that the allegation is directed to DataLocker or its
16     products or services, DataLocker denies the allegations of Paragraph 12.
17                              JURISDICTION AND VENUE
18           13.     DataLocker admits that this Court has original jurisdiction over the
19     subject matter of Plaintiff’s Complaint, but denies that there are any legal or factual
20     bases for the action. To the extent that Paragraph 13 pertains to other defendants,
21     no response is required by DataLocker. All remaining allegations of Paragraph 13
22     are denied.
23           14.     Paragraph 14 states legal conclusions to which no response is
24     required. DataLocker denies that it has committed acts of patent infringement
25     (direct or otherwise) of any valid, enforceable claim of the Patents-in-Suit.
26     DataLocker denies the remaining allegations of Paragraph 14 as they relate to
27     DataLocker. DataLocker lacks knowledge or information sufficient to form a
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 1     belief as to the truth of the allegations of Paragraph 14 as they relate to the other
 2     named defendants, and on that basis denies them.
 3           15.    Paragraph 15 states legal conclusions for which no response is
 4     required. DataLocker denies that it has committed acts of patent infringement
 5     (direct or otherwise) of any valid, enforceable claim of the Patents-in-Suit.
 6     DataLocker denies the remaining allegations of Paragraph 15 as they relate to
 7     DataLocker. DataLocker lacks knowledge or information sufficient to form a belief
 8     as to the truth of the allegations of Paragraph 15 as they relate to the other named
 9     defendants, and on that basis denies them.
10           16.    Paragraph 16 states legal conclusions for which no response is
11     required. DataLocker admits that Imation sold IronKey assets to Kingston in
12     February 2016. DataLocker admits that Imation sold IronKey assets to DataLocker
13     in February 2016, and that Plaintiff purports to assert claims against IronKey-
14     branded products. DataLocker denies the remaining allegations of Paragraph 16.
15                               FACTUAL BACKGROUND
16           17.    DataLocker lacks knowledge or information sufficient to form a belief
17     as to the truth of the allegations of Paragraph 17, and on that basis denies them.
18           18.    DataLocker lacks knowledge or information sufficient to form a belief
19     as to the truth of the allegations of Paragraph 18, and on that basis denies them.
20           19.    DataLocker lacks knowledge or information sufficient to form a belief
21     as to the truth of the allegations of Paragraph 19, and on that basis denies them.
22           20.    DataLocker lacks knowledge or information sufficient to form a belief
23     as to the truth of the allegations of Paragraph 20, and on that basis denies them.
24           21.    DataLocker lacks knowledge or information sufficient to form a belief
25     as to the truth of the allegations of Paragraph 21, and on that basis denies them.
26           22.    DataLocker lacks knowledge or information sufficient to form a belief
27     as to the truth of the allegations of Paragraph 22, and on that basis denies them.
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 1           23.    DataLocker lacks knowledge or information sufficient to form a belief
 2     as to the truth of the allegations of Paragraph 23, and on that basis denies them.
 3           24.    Paragraph 24 is not directed to DataLocker and therefore no response
 4     is required. To the extent a response to this Paragraph is required, DataLocker is
 5     without knowledge or information sufficient to form a belief as to the truth of the
 6     allegations of the Paragraph, and therefore denies them.
 7           25.    DataLocker lacks knowledge or information sufficient to form a belief
 8     as to the truth of the allegations of Paragraph 25, and on that basis denies them.
 9           26.    DataLocker lacks knowledge or information sufficient to form a belief
10     as to the truth of the allegations of Paragraph 26, and on that basis denies them.
11           27.    DataLocker lacks knowledge or information sufficient to form a belief
12     as to the truth of the allegations of Paragraph 27, and on that basis denies them.
13           28.    DataLocker lacks knowledge or information sufficient to form a belief
14     as to the truth of the allegations of Paragraph 28, and on that basis denies them.
15           29.    DataLocker lacks knowledge or information sufficient to form a belief
16     as to the truth of the allegations of Paragraph 29, and on that basis denies them.
17           30.    DataLocker lacks knowledge or information sufficient to form a belief
18     as to the truth of the allegations of Paragraph 30, and on that basis denies them.
19           31.    DataLocker admits that Exhibit C to Plaintiff’s Complaint purports to
20     be a mutual confidentiality agreement between Spyrus, Inc. and Kingston Digital,
21     Inc., and further states that the document speaks for itself. DataLocker lacks
22     knowledge or information sufficient to form a belief as to the truth of the remaining
23     allegations of Paragraph 31, and on that basis denies them.
24           32.    DataLocker lacks knowledge or information sufficient to form a belief
25     as to the truth of the allegations of Paragraph 32, and on that basis denies them.
26           33.    DataLocker lacks knowledge or information sufficient to form a belief
27     as to the truth of the allegations of Paragraph 33, and on that basis denies them.
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 1           34.    DataLocker lacks knowledge or information sufficient to form a belief
 2     as to the truth of the allegations of Paragraph 34, and on that basis denies them.
 3           35.    DataLocker lacks knowledge or information sufficient to form a belief
 4     as to the truth of the allegations of Paragraph 35, and on that basis denies them.
 5           36.    DataLocker lacks knowledge or information sufficient to form a belief
 6     as to the truth of the allegations of Paragraph 36, and on that basis denies them.
 7           37.    DataLocker lacks knowledge or information sufficient to form a belief
 8     as to the truth of the allegations of Paragraph 37, and on that basis denies them.
 9           38.    DataLocker lacks knowledge or information sufficient to form a belief
10     as to the truth of the allegations of Paragraph 38, and on that basis denies them.
11           39.    DataLocker lacks knowledge or information sufficient to form a belief
12     as to the truth of the allegations of Paragraph 39, and on that basis denies them.
13           40.    DataLocker lacks knowledge or information sufficient to form a belief
14     as to the truth of the allegations of Paragraph 40, and on that basis denies them.
15           41.    DataLocker lacks knowledge or information sufficient to form a belief
16     as to the truth of the allegations of Paragraph 41, and on that basis denies them.
17           42.    DataLocker lacks knowledge or information sufficient to form a belief
18     as to the truth of the allegations of Paragraph 42, and on that basis denies them.
19           43.    DataLocker lacks knowledge or information sufficient to form a belief
20     as to the truth of the allegations of Paragraph 43, and on that basis denies them.
21           44.    DataLocker lacks knowledge or information sufficient to form a belief
22     as to the truth of the allegations of Paragraph 44, and on that basis denies them.
23           45.    DataLocker lacks knowledge or information sufficient to form a belief
24     as to the truth of the allegations of Paragraph 45, and on that basis denies them.
25           46.    DataLocker lacks knowledge or information sufficient to form a belief
26     as to the truth of the allegations of Paragraph 46, and on that basis denies them.
27           47.    DataLocker lacks knowledge or information sufficient to form a belief
28     as to the truth of the allegations of Paragraph 47, and on that basis denies them.
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 1           48.    DataLocker lacks knowledge or information sufficient to form a belief
 2     as to the truth of the allegations of Paragraph 48, and on that basis denies them.
 3           49.    DataLocker lacks knowledge or information sufficient to form a belief
 4     as to the truth of the allegations of Paragraph 49, and on that basis denies them.
 5           50.    DataLocker lacks knowledge or information sufficient to form a belief
 6     as to the truth of the allegations of Paragraph 50, and on that basis denies them.
 7           51.    DataLocker lacks knowledge or information sufficient to form a belief
 8     as to the truth of the allegations of Paragraph 51, and on that basis denies them.
 9           52.    DataLocker lacks knowledge or information sufficient to form a belief
10     as to the truth of the allegations of Paragraph 52, and on that basis denies them.
11           53.    DataLocker lacks knowledge or information sufficient to form a belief
12     as to the truth of the allegations of Paragraph 53, and on that basis denies them.
13           54.    DataLocker lacks knowledge or information sufficient to form a belief
14     as to the truth of the allegations of Paragraph 54, and on that basis denies them.
15           55.    DataLocker lacks knowledge or information sufficient to form a belief
16     as to the truth of the allegations of Paragraph 55, and on that basis denies them.
17           56.    DataLocker lacks knowledge or information sufficient to form a belief
18     as to the truth of the allegations of Paragraph 56, and on that basis denies them.
19           57.    DataLocker lacks knowledge or information sufficient to form a belief
20     as to the truth of the allegations of Paragraph 57, and on that basis denies them.
21           58.    DataLocker lacks knowledge or information sufficient to form a belief
22     as to the truth of the allegations of Paragraph 58, and on that basis denies them.
23                                 THE PATENTS-IN-SUIT
24           59.    DataLocker lacks knowledge or information sufficient to form a belief
25     as to the truth of the allegations of Paragraph 59, and on that basis denies them.
26           60.    DataLocker admits that United States Patent No. 6,088,802 (“the ’802
27     Patent”) is entitled “Peripheral Device With Integrated Security Functionality,” and
28     that it was issued on July 11, 2000, from U.S. Patent Application No. 08/869,305
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 1     filed on June 4, 1997. DataLocker further admits that a copy of the ’802 Patent is
 2     purportedly attached as Exhibit A to Plaintiff’s Complaint.
 3           61.     DataLocker admits that United States Patent No. 6,003,135 (“the ’135
 4     Patent”) is entitled “Modular Security Device,” and that it was issued on December
 5     14, 1999, from U.S. Patent Application No. 08/869,120 filed on June 4, 1997.
 6     DataLocker further admits that a copy of the ’135 Patent is purportedly attached as
 7     Exhibit B to Plaintiff’s Complaint.
 8           62.     DataLocker lacks knowledge or information sufficient to form a belief
 9     as to the truth of the allegations of Paragraph 62, and on that basis denies them.
10                                           COUNT I
11                (KINGSTON’S INFRINGEMENT OF THE ’802 PATENT)
12           63.     DataLocker incorporates by reference its responses contained in
13     Paragraphs 1 through 62 as if fully set forth herein.
14
15           64-75. Paragraphs 64-75 pertain to defendants other than DataLocker so no
16        response from DataLocker is required. To the extent a response is required,
17        DataLocker lacks knowledge or information sufficient to form a belief as to the
18        truth of the allegations of paragraphs 64 through 75, and on that basis denies
19        them.
20                                           COUNT II
21                (KINGSTON’S INFRINGEMENT OF THE ’135 PATENT)
22           76.      DataLocker incorporates by reference its responses contained in
23           Paragraphs 1 through 75 as if fully set forth herein.
24
25           77-88     Paragraphs 77-88 pertain to defendants other than DataLocker so
26           no response from DataLocker is required. To the extent a response is
27           required, DataLocker lacks knowledge or information sufficient to form a
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 1           belief as to the truth of the allegations of paragraphs 77 through 88, and on
 2           that basis denies them.
 3                                        COUNT III
 4               (IMATION’S INFRINGEMENT OF THE ‘802 PATENT)
 5             89. DataLocker incorporates by reference its responses contained in
 6                paragraphs 1 through 88 as if fully set forth herein.
 7            90-101. Paragraphs 90-101 pertain to defendants other than DataLocker so
 8     no response from DataLocker is required. To the extent a response is required,
 9     DataLocker denies that any product previously associated with Imation and now
10     associated with DataLocker infringes the ’802 Patent. DataLocker further states
11     that the allegations in Paragraphs 90 through 101 of Plaintiff’s Complaint assert a
12     claim for infringement of the ’802 Patent solely against Defendant Imation.
13     DataLocker therefore lacks knowledge or information sufficient to form a belief as
14     to the truth of the remaining allegations of Paragraphs 90 through 101, and on that
15     basis denies them.
16
17                                        COUNT IV
18               (IMATION’S INFRINGEMENT OF THE ’135 PATENT)
19             102. DataLocker incorporates by reference its responses contained in
20             Paragraphs 1 through 101 as if fully set forth herein.
21            103-114. Paragraphs 103-114 pertain to defendants other than
22     DataLocker so no response from DataLocker is required. To the extent a
23     response is required, DataLocker denies that any product previously associated
24     with Imation and now associated with DataLocker infringes the ’135 Patent.
25     DataLocker further states that the allegations in paragraphs 103 through 114 of
26     Plaintiff’s Complaint assert a claim for infringement of the ’135 Patent solely
27     against Defendant Imation. DataLocker therefore lacks knowledge or information
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 1   sufficient to form a belief as to the truth of the remaining allegations of
 2   Paragraphs 103 through 114, and on that basis denies them.
 3
 4                                        COUNT V
 5          (DATALOCKER’S INFRINGEMENT OF THE ’802 PATENT)
 6          115. DataLocker incorporates by reference its responses contained in
 7          Paragraphs 1 through 114 as if fully set forth herein.
 8          116. Paragraph 116 states legal conclusions for which no response is
 9   required. DataLocker denies that it has made, used, offered for sale, sold, and/or
10   imported into the United States products that infringe any valid, enforceable claim
11   of the ‘802 Patent. All remaining allegations of Paragraph 116 are denied.
12          117. DataLocker denies the allegations of Paragraph 117 and Exhibit H
13   referenced therein.
14          118. DataLocker denies the allegations of Paragraph 118.
15          119. DataLocker admits that it had notice of ’802 Patent since the filing of
16   Plaintiff’s Complaint. DataLocker otherwise denies the allegations of Paragraph
17   119.
18          120. DataLocker denies the allegations of Paragraph 120 and Exhibit H
19   referenced therein.
20          121. DataLocker denies the allegations of Paragraph 121.
21          122. DataLocker denies the allegations of Paragraph 122.
22          123. DataLocker admits that it had notice of ’802 Patent since the filing of
23   Plaintiff’s Complaint. DataLocker otherwise denies the allegations of Paragraph
24   123.
25          124. DataLocker denies the allegations of Paragraph 124.
26          125. DataLocker denies the allegations of Paragraph 125.
27          126. DataLocker denies that Plaintiff is entitled to recover any damages as
28   alleged in Paragraph 126.
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 1                                       COUNT VI
 2          (DATALOCKER’S INFRINGEMENT OF THE ’135 PATENT)
 3          127. DataLocker incorporates by reference its responses contained in
 4   Paragraphs 1 through 126 as if fully set forth herein.
 5          128. DataLocker denies that it has made, used, offered for sale, sold, and/or
 6   imported into the United States products that infringe any valid, enforceable claim
 7   of the ‘135 Patent. All remaining allegations of Paragraph 128 are denied.
 8          129. DataLocker denies the allegations of Paragraph 129 and Exhibit I
 9   referenced therein.
10          130. DataLocker denies the allegations of Paragraph 130.
11          131. DataLocker admits that it had notice of ’802 Patent since the filing of
12   Plaintiff’s Complaint. DataLocker otherwise denies the allegations of Paragraph
13   131.
14          132. DataLocker denies the allegations of Paragraph 132 and Exhibit I
15   referenced therein.
16          133. DataLocker denies the allegations of Paragraph 133.
17          134. DataLocker denies the allegations of Paragraph 134.
18          135. DataLocker admits that it had notice of ’135 Patent since the filing of
19   Plaintiff’s Complaint. DataLocker otherwise denies the allegations of Paragraph
20   135.
21          136. DataLocker denies the allegations of Paragraph 136.
22          137. DataLocker denies the allegations of Paragraph 137.
23          138. DataLocker denies that Plaintiff is entitled to recover any damages as
24   alleged in Paragraph 138.
25                               PRAYER FOR RELIEF
26          The remainder of Plaintiff’s Complaint comprises a prayer for relief to which
27   no response is required. To the extent any response is required, DataLocker denies
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 1   that Plaintiff is entitled to any remedy or relief on its claims against DataLocker
 2   whatsoever, either as requested or otherwise.
 3
 4                   DATALOCKER’S AFFIRMATIVE DEFENSES
 5         Pleading in the alternative, and without prejudice to the foregoing
 6   admissions, averments, and denials, DataLocker asserts the following affirmative
 7   defenses to the allegations in Plaintiff’s Complaint, undertaking the burden of proof
 8   only as to those defenses deemed affirmative defenses by law. DataLocker reserves
 9   the right to amend its Answer to add additional affirmative and other defenses as
10   discovery proceeds in this case.
11                               First Affirmative Defense
12                               (Failure to State a Claim)
13         1.      Each and every one of Plaintiff’s Claims for relief and each and
14   everyone of its allegations fail to state a claim against each of DataLocker Inc. and
15   DataLocker International, LLC (collectively, “DataLocker”) for which relief can
16   be granted.
17                              Second Affirmative Defense
18                                   (Non-Infringement)
19         2.      DataLocker does not infringe, and has not infringed, either literally,
20   or by application of the doctrine of equivalents, directly or indirectly (whether
21   contributorily or by inducement) any purportedly valid, enforceable claim of the
22   ’802 or ’135 Patents (collectively, “the Patents”),
23                               Third Affirmative Defense
24                                       (Invalidity)
25         3.      The Patents are invalid under one or more provisions of 35 U.S.C.
26   §§ 101, 102, 103, and/or 112.
27                              Fourth Affirmative Defense
28                    (Waiver, Laches, Estoppel, and Acquiescence)
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 1         4.     Plaintiff’s claims are limited or barred by the equitable doctrines of
 2   waiver, laches, estoppel and/or acquiescence.
 3         5.
 4                                Fifth Affirmative Defense
 5                      (Prosecution History Estoppel/Disclaimer)
 6         6.     Upon information and belief, by reason of prior art and the
 7   proceedings before the U.S. Patent and Trademark Office during the prosecution
 8   of the patents-in-suit, Plaintiff is estopped from asserting that at least some of the
 9   patents-in-suit cover and include DataLocker products alleged to infringe the
10   patents-in-suit.
11                                Sixth Affirmative Defense
12                                     (Unclean Hands)
13         7.     Plaintiff’s claims are barred, in whole or in part, by the equitable
14   doctrine of unclean hands.
15                              Seventh Affirmative Defense
16                                 (Limitation on Damages)
17         8.     Plaintiff’s claims for relief and prayer for damages are limited by 35
18   U.S.C. §§ 286, 287, and/or 288.
19                                Eighth Affirmative Defense
20         9.     To the extent Plaintiff asserts that DataLocker indirectly infringed
21   (whether contributorily or by inducement), DataLocker is not liable for the acts
22   alleged to have been performed before Defendants knew their actions would cause
23   the alleged indirect infringement.
24                                Ninth Affirmative Defense
25                                   (License/Exhaustion)
26         10.    Plaintiff is barred from asserting the Patents against DataLocker to the
27   extent DataLocker’s use is licensed or otherwise authorized and/or to the extent
28   Plaintiff’s patent rights in the accused technology are exhausted.
                                              13
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 1                                Tenth Affirmative Defense
 2                                         (Standing)
 3          11.    To the extent Plaintiff does not have title to any or all of the Patents,
 4   or to the extent that the right to sue for past infringement was not clearly conveyed
 5   to Plaintiff, Plaintiff lacks standing.
 6                                     JURY DEMAND
 7          DataLocker demands a trial by jury of all issues so triable.
 8
 9   DATED: December 8, 2016                   HOVEY WILLIAMS LLP
10
11                                      By:    /s/ Scott Brown
12                                             HOVEY WILLIAMS LLP
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17
18                                             Attorneys for Defendants
                                               DATALOCKER INC. and DATA
19                                             LOCKER INTERNATIONAL, LLC
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